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                 Docket No.: 23 Civ. 1489 (DLC)

              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK



       SERVISIO SIMMON,


                                                Plaintiff,

                             -against-

       CITY OF NEW YORK, and JOHN DOES 1-5,

                                                Defendants.



        MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANT’S MOTION FOR JUDGMENT ON
        THE PLEADINGS PURSUANT TO FED R. CIV.
        P. 12(C)


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SERVISIO SIMMON,

                                                                                 23 Civ. 1489 (DLC)
                                                              Plaintiff,

                                 -against-

CITY OF NEW YORK, ET. AL.,

                                                             Defendants.

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                         MEMORANDUM OF LAW IN SUPPORT OF
                      DEFENDANT’S MOTION FOR JUDGMENT ON THE
                       PLEADINGS PURSUANT TO FED R. CIV. P. 12(C)

                                     PRELIMINARY STATEMENT

                 In the instant complaint, plaintiff alleges that, on or about August 7, 2020, he was

arrested and, after attempting to hang himself in a cell at an NYPD precinct, officers threw him

against the wall and one officer put him in a headlock and applied pressure to his neck in such a

way that he could not breathe. (See ECF No. 1, Complaint at ¶¶ 12-15, dated February 22, 2023.)

Plaintiff brings this action pursuant to 42 U.S.C. § 1983, alleging excessive force and failure to

intervene claims against John Doe Officers and a Monell claim against the City of New York.

(See id. at ¶¶ 25-39.) Plaintiff’s arrest is not at issue in this lawsuit. (See id. at ¶ 9.)

                 Notwithstanding, on July 1, 2022, plaintiff executed a General Release to resolve

an unrelated claim filed with the New York City Office of the Comptroller (hereinafter “the

Comptroller”). (See ECF No. 8-1 at 2-3.) In that General Release, plaintiff clearly and

unambiguously “release[d]… the City of New York, and… [its] employees… from any and all

liability… alleging… any and all claims… against the [City of New York and its employees] for,

upon or by reason of any matter, cause or thing whatsoever that occurred through [July 1,
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2022]…” and does not make an exception for any incident occurring on or about August 7, 2020.

(See id. at 2.) As such, all claims against the City of New York and any and all identified or

unidentified NYPD officers     in this action are barred by the previously executed General

Release, dated July 1, 2022, and defendant City of New York is entitled to judgment on the

pleadings.

                                  STATEMENT OF FACTS

              On or about June 28, 2021, plaintiff filed a claim with the New York City Office

of the Comptroller (hereinafter “the Comptroller”) against the City of New York and the New

York City Department of Correction under claim number 2021PI016783 alleging claims related

to an incident that occurred on May 20, 2021 (hereinafter “Simmon I”). (See Decl., at ¶ 1.) The

Law Office of Matthew B. Waller represented plaintiff in Simmon I and, on July 1, 2022, in

connection with a settlement in Simmon I, plaintiff executed a General Release. (See ECF No. 8-

1 at 7.) Pursuant to the terms of the General Release, in exchange for the settlement, plaintiff

agreed to:

              “release[] and forever discharge[] the City of New York, and all
              past and present officials, officers, directors, managers,
              administrators, employees, agents, assignees, lessees, and
              representatives of the City of New York, and all other individually
              named defendants and/or entities represented and/or indemnified
              by the City of New York, collectively the ‘RELEASEES’, from
              any and all liability, claims, or rights of action alleging a violation
              of civil rights and any and all claims, causes of action, suits,
              administrative proceedings, debts, dues, sums of money, accounts,
              reckonings, bonds, bills, specialties, covenants, contracts,
              controversies, transactions, occurrences, agreements, promises,
              damages, variances, trespasses, extents, judgments, executions, and
              demands known or unknown, at law, in equity, or by
              administrative regulations, with RELEASOR, his/her heirs,
              distributees, devisees, legatees, executors, administrators,
              successors, and assignees had, now has or hereafter can, shall, or
              may have, either directly or through subrogees or other third
              persons, against the RELEASEES for, upon or by any reason of



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               any matter, cause or thing whatsoever that occurred through the
               date of this RELEASE”

(See ECF No. 8-1 at 2.) The claims in this action are pointedly not excluded from the General

Release. (See id. at 2-3.)

               Plaintiff commenced this action over six months after he signed the General

Release in Simmon I by filing a federal complaint on February 22, 2023. (See ECF No. 1,

Complaint, dated February 22, 2023.)

               Defendant City of New York answered the Complaint on July 10, 2023. (See ECF

No. 8, Answer, dated July 10, 2023.) In its Answer to the Complaint, defendant pled that this

action is barred, in whole, by the terms of a General Release executed by plaintiff on July 1,

2022 as its Eighth Affirmative Defense, and attached the Simmon I General Release as Exhibit A

to its Answer. (See id.)

               On July 14, 2023, defendant filed a letter requesting a stay of all discovery

pending the resolution of defendant’s anticipated motion for judgment on the pleadings pursuant

to Rule 12(c) of the Federal Rules of Civil Procedure. (See ECF No. 9, Letter Motion, dated July

14, 2023.) On July 19, 2023, the Court ordered defendant City of New York to provide plaintiff

with the identities of the John Does alleged in the Complaint, set deadlines for defendant’s

motion for judgment on the pleadings, and stayed discovery pending resolution of any motion for

judgment on the pleadings. (See ECF No. 11, Order, dated July 19, 2023.)

                                  STANDARD OF REVIEW

               In deciding a motion for judgment on the pleadings, a district court must “employ

the same standard applicable to Rule 12(b)(6) motions to dismiss.” Vega v. Hempstead Union

Free Sch. Dist., 801 F.3d 72, 78 (2d Cir. 2015). This means “[a]ccepting the non-moving party’s

allegations as true and viewing the facts in the light most favorable to that party,” and granting



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judgment on the pleadings “if the moving party is entitled to judgment as a matter of law.”

Richards v. Select Ins. Co., 40 F. Supp. 2d 163, 165 (S.D.N.Y. March 11, 1999) (internal

quotation marks omitted).

              Under Rule 12(c), a party is entitled to judgment on the pleadings “only if it has

established that no material issue of fact remains to be resolved.” Juster Assocs. v. City of

Rutland, 901 F.2d 266, 269 (2d Cir. 1990) (internal quotation marks omitted); see Sellers v. M.C.

Floor Crafters, Inc., 842 F.2d 639, 642 (2d Cir. 1988) (noting that judgment on the pleadings “is

appropriate where material facts are undisputed and where a judgment on the merits is possible

merely by considering the contents of the pleadings”). “On a [Rule] 12(c) motion, the court

considers ‘the complaint, the answer, any written documents attached to them, and any matter of

which the court can take judicial notice for the factual background of the case.’” L-7 Designs,

Inc. v. Old Navy, LLC, 647 F.3d 419, 422 (2d Cir. 2011) (quoting Roberts v. Babkiewicz, 582

F.3d 418, 419 (2d Cir. 2009)). As such, the Simmon I General Release, which defendant attached

to its Answer, and any documents incorporated by reference in the General Release, are

appropriately considered by this Court.

                                          ARGUMENT

                                           POINT I

                            THE GENERAL RELEASE SIGNED BY
                            PLAINTIFF IN SIMMON I BARS ALL
                            OF PLAINTIFF’S CLAIMS IN THIS
                            ACTION

              It is well-settled in the Second Circuit that “[s]ettlement agreements are contracts

and must therefore be construed according to general principles of contract law.” Mateo v.

Carinha, 799 Fed. App’x 51, 53 (2d Cir. 2020) (summary order) (quoting Collins v. Harrison-

Bode, 303 F.3d 429, 433 (2d Cir. 2002)). Similarly, “[a] release is a species of contract and ‘is



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governed by the principles of contract law.’” Golden Pac. Bancorp v. FDIC, 273 F.3d 509, 514

(2d Cir. 2001) (quoting Bank of Am. Nat’l Trust & Sav. Ass’n v. Gallizeau, 766 F.2d 709, 715

(2d Cir. 1985)). Under general contract principles, the express terms of a contract cannot be

supplemented or varied by matters beyond the “four corners” of the document or parol evidence

of a party’s intentions where the written agreement was intended to embody the entire agreement

between the parties. Robinson v. Pierce, No. 11 Civ. 5516 (GBD)(AJP), 2012 U.S. Dist. LEXIS

33442, at **17–18 (S.D.N.Y. Mar. 13, 2012); see also Tromp v. City of New York, 465 F.

App’x 50, 53 (“whereas” clause in a Stipulation of Settlement and Order of Dismissal, which

was outside the “four corners” of the general release, does not limit the terms of the general

release).

                “Where the language of [a] release is clear, effect must be given to the intent of

the parties as indicated by the language employed.” Mateo, 799 Fed. App’x at 53 (quoting Wang

v. Paterson, No. 07 Civ. 2032 (LTS)(AJP), 2008 U.S. Dist. LEXIS 102495, at *4 (S.D.N.Y. Dec.

18, 2008); see also Horton v. Empire Bail Bonds, No. 09-CV-1635 (JG), 2010 U.S. Dist. LEXIS

44958, at *6 (E.D.N.Y. May 7, 2010) (“The primary objective when interpreting a contract is to

give effect to the intent of the parties as revealed by the language of their agreement.”) (internal

citation and quotations omitted). As the Second Circuit has noted, “‘[w]ords of [G]eneral

[R]elease are clearly operative not only as to all controversies and causes of action between the

releasor and releasees which had, by that time, actually ripened into litigation, but to all such

issues which might then have been adjudicated as a result of pre-existent controversies.’” Tromp,

465 Fed. App’x at 52 (quoting A.A. Truck Renting Corp. v. Navistar, Inc., 916 N.Y.S.2d 194,

196 (2d Dep’t 2011)).




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                 Plaintiff’s subjective understanding of the applicability of the Simmon I General

is irrelevant to the General Release’s enforceability. With “‘unambiguous contracts,’” plaintiff’s

“‘subjective intent and understanding of the terms is irrelevant.’” Cuadrado v. Zito, No. 13 Civ.

3321 (VB), 2014 U.S. Dist. LEXIS 57184 at *6 (S.D.N.Y. Mar. 21, 2014) (quoting HOP Energy,

L.L.C. v. Local 553 Pension Fund, 678 F.3d 158, 162 (2d Cir. 2012)). The unambiguous

language of the release – not plaintiff’s subjective understanding of it – controls. See Lurch v.

Chaput, No. 16 Civ. 2517 (AT)(RWL), 2018 U.S. Dist. LEXIS 200517 at *7-*8 (S.D.N.Y. Nov.

2, 2018); Dinkins v. Harris, No. 15 Civ. 8914 (GHW), 2016 U.S. Dist. LEXIS 85277 at *8

(S.D.N.Y. June 29, 2016) (citing HOP Energy, L.L.C., 678 F.3d at 162). Moreover, plaintiff

acknowledged that “[t]his RELEASE may not be changed orally. THE UNDERSIGNED HAS

READ THE FOREGOING RELEASE AND FULLY UNDERSTANDS IT.” (See ECF No.

8-1 at 3.)

                 The Simmon I General Release unambiguously and unquestionably released the

City of New York and its past and present employees, including any John Does alleged in

plaintiff’s Complaint, from any potential claims that accrued prior to the date plaintiff signed the

Release on July 1, 2022. (See ECF No. 8-1 at 2-3.) The Simmon I General Release does not

make an exception for any incident occurring on or about August 7, 2020. See id. Thus, there can

be no dispute that the unambiguous language of the Simmon I General Release released

defendant City of New York, and any John Doe defendants, from liability for claims brought in

the instant complaint, which arise out of events occurring almost two years prior to the date

plaintiff signed the Simmon I General Release. The instant matter should therefore be dismissed,

with prejudice.




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               Furthermore, plaintiff agreed to the terms of the Simmon I General Release in

consideration for a substantial sum of money, and was represented by counsel when he did so.

(See ECF No. 8-1 at 3, 7-8). Plaintiff cannot argue that his attorney in Simmon I failed to explain

the terms and significance of the General Release to him. See Mateo, 799 Fed. App’x at 53. This

is primarily because any such argument would “raise[] at most a claim of legal malpractice, not a

basis for avoidance of the General Release.” See Lurch v. Lorenzana, No. 16 Civ. 9343 (PGG),

2018 U.S. Dist. LEXIS 200522, at *14 (S.D.N.Y. Aug. 30, 2018) (quoting Whittington v.

Woods, No. 13 Civ. 8535 (LTS) (RLE), 2016 U.S. Dist. LEXIS 24937, at *4-*5 (S.D.N.Y. Mar.

1, 2016) (plaintiff’s argument that his attorney failed to sufficiently explain the consequences of

the general release to him did not support a claim for duress or fraud)).

               Moreover, even if plaintiff’s attorney had misrepresented the effect of the General

Release, plaintiff’s reliance on any alleged misrepresentations would not be reasonable in light of

the unambiguous language of the General Release, which plaintiff affirmed he understood. See

Swinson v. City of New York, No. 12 Civ. 6080 (VB), 2015 U.S. Dist. LEXIS 28425, at *7

(S.D.N.Y. Feb. 11, 2015) (“The General Release unambiguously states that plaintiff was

releasing his claims against the City; the Release does not mention Asher & Associates, or their

representation of plaintiff [. . . .] Thus, plaintiff’s reliance on the alleged misrepresentations was

unjustified.”). Indeed, courts have consistently enforced General Releases in § 1983 actions

against the City and its agents even when the plaintiff is proceeding pro se. See generally Lurch,

2018 U.S. Dist. LEXIS 200522; see, e.g., Dinkins v, Harris, No. 15 Civ. 8914 (GHW), 2016 U.S.

Dist. LEXIS 85277, at **7–8 (S.D.N.Y. June 29, 2016); Staples v. Acolatza, No. 14 Civ. 3922

(WHP), 2016 U.S. Dist. LEXIS 153764, at *6-*7 (S.D.N.Y. Mar. 9, 2016); Lauderdale v. City of

New York, No. 06 Civ. 13184 (AKH), 2009 U.S. Dist. LEXIS 71556, at *4 (S.D.N.Y. Aug. 12,




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2009) (“[t]he fact that Plaintiff proceeded pro se does not diminish the enforceability of the […]

settlement agreement”) (citations omitted).

               Accordingly, the terms of the July 1, 2023 General Release in Simmon I are

unambiguous and bar all of the claims in this action. Thus, this action must be dismissed in its

entirety, with prejudice.

                                        CONCLUSION

               For the foregoing reasons, defendant City of New York respectfully request that

the Court grant their motion for judgment on the pleadings, together with such other and further

relief as this Court may deem just and proper.



Dated: August 9, 2023
       New York, New York
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